                              STATE OF WISCONSIN
                     FOR THE EASTERN DISTRICT OF WISCONSIN

DONALD J. TRUMP,

               Plaintiff,

Vs.                                                          CASE NO. 20-CV-1785-BHL

WISCONSIN ELECTIONS COMMISSION, et al.,

               Defendants.

                                 NOTICE OF APPEARANCE

       PLEASE TAKE NOTICE that Attorney Terrence M. Polich of Lawton & Cates, S.C.,

hereby appears as counsel on behalf of Defendants, Mayor Cory Mason, Tara Coolidge, Mayor

John Antaramian, Matt Krauter, Mayor Eric Genrich and Kris Teske, in the above-captioned

matter, and requests that copies of all further pleadings, papers and other matters herein be

served upon them at Lawton & Cates, S.C., 345 W. Washington Ave. Ste. 201 P.O. Bo 2965,

Madison, Wisconsin 53703.


Dated: This 5th day of December, 2020.               Lawton & Cates, S.C.
                                                     Attorneys for Defendants,
                                                     Mayor Cory Mason, Tara Coolidge,
                                                     Mayor John Antaramian, Matt Krauter,
                                                     Mayor Eric Genrich and Kris Teske
                                                     Electronically Signed By:

                                                     /s/ Terrence M. Polich_________________
                                                     Attorney Terrence M. Polich
                                                     State Bar No. 1031375

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